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   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-115 TLN
11
                                   Plaintiff,            STIPULATION AND ORDER REGARDING
12                                                       RESTITUTION
                             v.
13
     LEE YANG,
14
                                  Defendant.
15

16

17          The United States of America, by and through Assistant United States Attorney Matthew M.

18 Yelovich, and defendant Lee Yang, by and through his counsel David D. Fischer, respectfully request

19 that the Court amend its previous order of restitution entered May 19, 2016, and order defendant Lee

20 Yang to pay restitution in the amount of $200,929.24, first to the victims listed in Attachment A-1, and

21 second to the victims listed in Attachment A-2, for the following reasons:

22          1.       The defendant pleaded guilty pursuant to a plea agreement. In that agreement, the

23 defendant agreed to pay the full amount of restitution to all victims affected by his offense, which the

24 parties then estimated to be approximately $186,000. See Plea Ag., ECF No. 61, 2–3. He agreed to be

25 jointly and severally liable for that amount with his co-defendants. See id. at 3.

26          2.       The Court sentenced the defendant on March 10, 2016, and ordered him to pay restitution

27 jointly and severally with his co-defendants, with an exact amount and recipient information to be filed

28 later by the parties. See ECF Nos. 84 (minutes from sentencing hearing); 85 (Judgment), 5–6.


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 1          3.       On May 19, 2016, upon filing by the parties of a stipulation and proposed order, the

 2 Court ordered the defendant to pay restitution in the amount of $199,334.43, with any restitution owed

 3 to a victim to be owed jointly and severally with any co-defendant who has been ordered to pay

 4 restitution to the same victim. See ECF No. 98. The parties were ordered to provide the Clerk of the

 5 Court and Probation Office, within seven days of the order, an itemized list of the victims, victims’

 6 addresses, and amounts owed to each victim. See id.

 7          4.       Since the entry of that order, the Clerk of the Court has requested that the parties revise

 8 the proposed itemized list to address certain usability and clerical concerns, namely, to provide more

 9 certainty and clarity in the itemized list so as to remove any risk of there being discretion on the Clerk’s

10 part in whom to send restitution and in what order.

11          5.       Accordingly, the parties have conferred regarding a revised itemized list containing the

12 proper restitution amount and victim payment order, consistent with 18 U.S.C. § 3664(j)(1). The

13 government has also conferred with the Probation Office and Clerk of Court regarding the revised

14 itemized list. In addition, the government has continued to communicate with and receive information

15 from victims affected by this offense. Pursuant to those discussions and continued victim outreach, the

16 parties hereby stipulate and agree to request that the Court amend its May 19, 2016 Order, see ECF No.

17 98, to instead order that defendant Lee Yang shall be liable for restitution in the amount of $200,929.24,

18 and that any restitution owed to a victim is owed jointly and severally with any co-defendant who has

19 been ordered to pay restitution to the same victim.

20          6.       Further, the parties will send to the Clerk of Court concurrently with the filing of this

21 stipulation a two-part itemized list of the victims, victims’ addresses, and amounts owed to each victim,

22 titled Attachments A-1 (individual victims) and A-2 (“provider[s] of compensation” under 18 U.S.C.

23 § 3664(j)(1)). The parties request that the Court order that restitution pursuant to this order shall be paid

24 according to this itemized list, in the following sequence, in accordance with 18 U.S.C. § 3664(j)(1): no

25 victim listed on Attachment A-2 shall be paid until all restitution owed to victims listed on Attachment

26 A-1 has been paid.
27          7.       Payment shall be made by cashier’s check payable to the Clerk of the Court for the

28 Eastern District of California. Per the plea agreement, the defendant shall not seek to discharge any


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 1 restitution obligation or any part of such obligation in any bankruptcy. Pursuant to 18 U.S.C. § 3664(k),

 2 the defendant also understands that he must notify the Court and the Attorney General of any material

 3 change in his economic circumstances that might affect his ability to pay restitution.

 4                 IT IS SO STIPULATED.

 5 Dated: July 15, 2016                                     PHILLIP A. TALBERT
                                                            Acting United States Attorney
 6

 7                                                  By: /s/ MATTHEW M. YELOVICH
                                                        MATTHEW M. YELOVICH
 8                                                      Assistant United States Attorney
 9
     Dated: July 15, 2016                                   /s/ DAVID D. FISCHER
10                                                          DAVID D. FISCHER
                                                            Attorney for Lee Yang
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 1                                                   ORDER

 2          The Court has reviewed the stipulation of the parties seeking an order amending its May 19,

 3 2016 Order and directing defendant Lee Yang to pay restitution in the amount of $200,929.24 to the

 4 victims listed in Attachments A-1 and A-2 in the sequence prescribed in the stipulation. Based on that

 5 stipulation, the plea agreement between the parties, and the defendant’s obligation to pay restitution

 6 pursuant to 18 U.S.C. § 3663A, the Court finds good cause to amend its previous order of restitution by

 7 hereby entering an order holding Lee Yang liable for restitution in the amount of $200,929.24. The

 8 defendant shall pay restitution in the amount of $200,929.24, and any restitution owed to a victim is

 9 owed jointly and severally with any co-defendant who has been ordered to pay restitution to the same

10 victim. Restitution paid pursuant to this order shall be provided to the victims in the following

11 sequence, in accordance with 18 U.S.C. § 3664(j)(1): no victim listed on Attachment A-2 shall be paid

12 until all restitution owed to victims listed on Attachment A-1 has been paid.

13          Payment shall be made by cashier’s check payable to the Clerk of the Court for the Eastern

14 District of California. Per the terms of the plea agreement, the defendant shall not seek to discharge any

15 restitution obligation or any part of such obligation in any bankruptcy. Pursuant to 18 U.S.C. § 3664(k),

16 the defendant must notify the Court and the Attorney General of any material change in his economic

17 circumstances that might affect his ability to pay restitution.

18                  SO ORDERED.

19 Dated: July 19, 2016

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21
                                                                        Troy L. Nunley
22                                                                      United States District Judge

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      STIPULATION AND [PROPOSED] ORDER REGARDING         4
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